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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




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                                                )
In re: Oil Spill by the Oil Rig DEEPWATER       )   MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April          )
20, 2010                                        )   Section: J
                                                )
This Document Relates to: No. 10-1497,          )   Judge Barbier
No. 10-1630                                     )   Mag. Judge Shushan
                                                )
                                                )
                                                )
                                                )

                                              ORDER

       Before the Court is Federal Defendants’ Motion for Protective Order. Having considered

Federal Defendants’ motion, Plaintiffs’ response, and the memoranda written in support of both,

it is HEREBY,

       ORDERED that Federal Defendants’ request for a protective order is GRANTED;

       ORDERED that discovery requests are barred from applying to Federal Defendants, and

the scope of judicial review in this matter will be limited to the Administrative Records to be

filed with the Court in these matters.


New Orleans, Louisiana, this _______ day of November, 2010.



                                         ___________________________________
                                         United States District Judge
